     A() 247 (02/08)Case    4:98-cr-00106-LGW-CLR
                    Order Regarding Motion lbr Sentence Reduction   Document 748 Filed 09/23/08 Page 1 of 1

                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                            Southern District of Georgia              --
                                                               Savannah Division
                      United States of America                          )

                         Herman Felix Williams                          ) Case No: CR498-00106-002
                                                                        ) USM No: 09877-02 1
 Date of Previous Judgment: January 13, 1999                            ) Joshua Lowther
(Use Date of Last Amended Judgment if Applicable)                       ) Defendant's Attorney

                       Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant Ethe Director of the Bureau of Prisons Ethe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of __________________ months is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                         30                         Amended Offense Level:     30
Criminal History Category:                      11                         Criminal History Category:  H
Previous Guideline Range:              108        to 135 months            Amended Guideline Range 108 to 135 months
II. SENTENCE RELATIVE TO AMENDED GUJDELlls E R&NGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
fl Other (explain):

III. ADDITIONAL COMMENTS
The defendant is presently serving a period of incarceration based on the revocation of his tenn of supervised release.
Pursuant to U.S. S .G. § 1 B 1.10, Application Note 4(A), only a term of imprisonment imposed as part of the original
sentence is authorized to be reduced. This section does not authorize a reduction in the tenn of imprisonment
imposed upon revocation of supervised release. Further, the Court has concluded that an attorney does not need to be
appointed in this matter.

Except as provided above, all provisions of the judgment dated January 13, 1999,                       shall remain in effect.
IT IS SO ORDERED.                                                                          77 ,' ,,
Order Date


                                                                          B. Avant Edenfield
Effective Date:                                                           United States District Judge
                                                                          For the Southern District of Georgia
                      (if different from order date)                                         Printed name and title
